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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION
JOHN HANCOCK LIFE INSURANCE
COMPANY (U.S.A.,) f/k/a Manufacturers
Life Insurance Company,
Plaintiff,
v. Case No.: 4:18-cv-02869

THE ESTATE OF JENNIFER LAUREN
WHEATLEY, et al.,

Defendants,

LOUIS ANTHONY WHEATLEY,
- INDIVIDUALLY and as ADMINISTRATOR OF
THE ESTATE OF JENNIFER LAUREN

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WHEATLEY, DECEASED, )
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Third Party Defendants.
THE DEFENDANT, THE ESTATE OF JENNIFER LAUREN
WHEATLEY’S MOTION TO MODIFY SCHEDULING ORDER

Comes now the Defendant, the Estate of Jennifer Lauren Wheatley, and hereby moves this
Court to modify the December 3, 2019, Scheduling Order, and the Scheduling Order entered

January 25, 2019, to the extent necessary, and in support thereof shows the following:

NATURE AND STAGE OF PROCEEDING

The original scheduling order entered on January 25, 2019, provided certain dates for
adding new parties, amend pleadings, disclosure of expert witnesses, discovery, dispositive and
non-dispositive motions, pretrial order and motions in limine and trial. On March 14, 2019, the

Court entered an order dismissing the counterclaims of the Defendant Wheatley Estate, The Court

 
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subsequently dismissed, sua sponte, the pending motion for leave of court for the Wheatley Estate
to amend its pleadings by adding the Fourth Counterclaim alleging penalty interest for late
payments under Texas Insurance Code. On November 12, 2019, the Court ruled in favor of the
Defendant, Wheatley Estate, on the basic entitlement issue and reinstated the Defendant’s
Counterclaims for negligence and breach of contract and both reinstated and granted the Defendant
Estate’s Motion for leave of Court to add its Fourth Counterclaim. That a new scheduling order
was entered on December 3, 2019, establishing a deadline of March 15, 2020, for filing dispositive
motions and trial date of June 15, 2020, but not addressing issues of further discovery, disclosure
of expert witnesses and time limits for additional amendments. On January 10, 2020, the
Wheatley’s filed a Motion for Leave of Court to allow an amended Fifth Counterclaim. On
January 27, 2020, the Defendant, Wheatley Estate, served additional discovery on John Hancock
(Third Request for Admissions, Second Set of Interrogatories and Third Request to Production of
Documents, a copy of said discovery is attached hereto as Exhibit “A” and a list of areas of inquiry
(#’s 1-10) for a deposition of John Hancock pursuant to Rule 30(b)(6)) is attached hereto as Exhibit
“B”, Should the Court grant the Defendant Wheatley Estate’s pending motion for leave to amend
the Defendant Estate’s pleadings to include the Fifth Counterclaim, the Scheduling Order would
necessarily have to be amended. Because of John Hancock’s statement that the Defendant
‘Wheatley Estate has not yet requested a modification of the scheduling order, this Motion is being
filed seeking the amendment of the December 3, 2019, Scheduling Order, or to the extent necessary
the January 25, 2019, Scheduling Order.
ISSUES TO BE DECIDED
Whether either the January 25, 2019, or December 3, 2019, Scheduling Orders should be

amended.

 
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STANDARD OF REVIEW
Federal Rules of Civil Procedure 16(b) governs the amending of a scheduling order. In

Santacruz v. Allstate Tex. Lloyd's Inc., 590 Fed. Appx. 384, 388; 2014 U.S. App. LEXIS 21642,
(5th Cir. 2014) the Court held:

Rule 16(b) provides that a scheduling order “may be modified only

for good cause and with the judge’s consent.... The trial court is

owed ‘broad discretion to preserve the integrity and purpose of the

pretrial order,” and “[o]nly upon the movant’s demonstration of

good cause to modify the scheduling order will the more liberal

standard of Rule /5(a) apply to the district court’s decision to grant

or deny leave.... Four factors are relevant to determining the

existence of good cause in the context of post-deadline amendment:

“(1) the explanation for the failure to timely move for leave to

amend; (2) the importance of the amendment; (3) potential prejudice

in allowing the amendment; and (4) the availability of a continuance

to cure such prejudice.” Id, at 389, (citations omitted)
If the Court were to consider this amendment in the context of the four factors, it should do so
"holistically and not mechanically count the number of factors which favor each side. EEQC v.
Serv, Temps., Inc., 2009 U.S. Dist. LEXIS 95667, 2009 WL 3294863, at *3 (N.D. Tex. Oct. 13,
2009) Fitzwater, C.J.), aff'd, 679 F.3d 323 (5 Cir, 2012). Balderas v. Valdez, 2018 U.S. Dist.
LEXIS 25232, (pp 3-4) Texas Northern District Court Date: February 15, 2018.

ARGUMENT
The Wheatley Estate’s prior arguments and factors in its Motion for Leave of Court to

Amend are hereby incorporated by reference in their entirety.

1, Both the Defendant Wheatley Estates and John Hancock’s focus on the
January 25, 2019, scheduling order is misplaced.

In the Memorandum that the Defendant Wheatley Estate filed in support of its Motion for
Leave to Amend its pleadings by adding a Fifth Counterclaim and John Hancock’s opposition

thereto, the focus of both parties arguments was whether the proposed amendment met the above

 
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referenced four factors to determine whether the moving party has demonstrated good cause to file
said amendment outside of the time frame established by the January 25, 2019, scheduling order.
This case, however, presents a somewhat anomalous situation of contract and negligence claims
having been dismissed pursuant to rule 12(b)(6) on March 14, 2019, and the Motion to Leave
Court to Amend (Fourth Counterclaim) was dismissed as being moot on July 2, 2019. These
claims were held in abeyance until the principal entitlement issue was decided on November 12,
2019, “An abatement is a present suspension of all proceedings in a suit. The case is held in
suspended animation and may be revived when the reason for abatement is
removed.” Permanente Medical Association of Texas v. Johnson, 917 8.W.2d 515, 517 (Tex.
App. -- Fort Worth 1996, orig. proceeding). Once the Court ruled in the Wheatley Estate’s favor
on the summary judgment issue, the Court contemporaneously entered an Order reinstating the
Defendant Estate’s counterclaims as well as granting its Motion to Amend to include the Fourth
Counterclaim, At the Status Conference held December 3, 2019, a Scheduling Order was entered
which did not specifically address the issues of additional amendments, additional discovery, or
the disclosure of expert witnesses.

In addition to its Motion for Leave of Court to Amend, filed January 10, 2020, on January
27, 2020, the Wheatley Estate served additional discovery requests on John Hancock (third
requests for admissions, (#’s 9-22); second set of interrogatories (#’s 7-11); and a third set of
request for production of documents (#’s 13 — 18) and a list of areas of inquiry (#’s 1-10) for a
deposition of John Hancock pursuant to Rule 30(b)(6). (See Exhibit “A” and Exhibit “B”)

The governing scheduling order should not be the initial scheduling order entered on

January 5, 2019, before the March 14, 2019, court order when the Wheatley Estates counterclaims

 
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and any possibility to file a motion to amend were placed in a state of dismissal/abeyance. It
should be the new scheduling order, entered on December 2, 2019, as amended where appropriate.

2. The Importance of the Amendment

If the court were to assess the four factors in deciding whether to grant the motion to amend,
the motion should be allowed based on its importance, not just to the Wheatleys, but more so to
public policy. Both the Texas and Massachusetts statutes provide for not only actual damages but
also punitive or exemplary damages for unfair claims settlement practices within well-defined
limits. The public policy in favor of deterring unfair insurance claims settlement practices is
compelling. The very nature of insurance creates an imbalanced bargaining position when a claim
is made. Compared with the typical policy holder, insurance companies have vast resources to
contest claims.

In the Wheatley case, the claim arose in the midst of a mother and father dealing with the
death of their daughter. At this point, John Hancock should have stepped forward to enforce the
annuity contract by recognizing that the change of beneficiary was defective, Instead it chose to
defend its mistake, apparently hoping that the Wheatley’s would simply go away. Then in spite
of the Wheatley’s persistence in asserting their rightful claim of the benefits, John Hancock came
up with a “review” that supposedly validated its decision. (This review is subject of the Wheatley
Estate’s January 27, 2020, discovery requests.) It reached a point in April 2018, that in a role
reversal, it was Mr. Wheatley who advised John Hancock that the annuity required that any change
of beneficiary had to be consented to in writing by the owner which was the United State
Department of Justice and that John Hancock should contact them, John Hancock then chose to
“double down” on their mistake in changing the beneficiary by completely bypassing the filing of

an interpleader, and paying the benefits to the Defendant Ward.

 
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The state legislatures of Massachusetts and Texas have given insurance companies an
added incentive to utilize good faith and fair claims settlement practices, A simple contract with
straightforward language was ignored by the very entity with responsibility for carrying out the
language of the contract, John Hancock had multiple opportunities to apply the clear language of
the contract, but on each occasion failed to do so, This happened, both at the time that the
beneficiary change was made as well as following Jennifer Wheatley's death in spite of the
numerous communications received from the estate. It happened with such frequency that a
reasonable inference is that it was done either intentionally or with reckless disregard for the
Wheatley estate's right to these benefits. John Hancock has continued to resist any admission or
disclosure that would point to its mistake in accepting the beneficiary change in question, The
strategy is transparent - wear down the Wheatley’s with litigation costs. The exemplary damage
provisions of Texas and Massachusetts reflect the legislative intent to discourage insurance
companies from engaging in this type of conduct. Given the facts of this case, this policy goal is
very important and would justify the granting of the Wheatley estate’s Motion to add its Fifth
Counterclaim.

WHEREFORE, the Defendant Estate respectfully requests that the Court modify the
December 3, 2019, Scheduling Order consistent with the Court’s ruling on the Defendant Estate’s
Motion for Leave of Court to Amend (January 10, 2020) and the outstanding discovery served

onto John Hancock on January 27, 2020.

Respectfully submitted,

GABRIEL BERRY & WESTON, L.L.P.

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CERTIFICATE OF CONFERENCE
In compliance with Local Civil Rule 7.1, on February 26, 2020, I confirmed with counsel
of record for John Hancock in this case by sending an email inquiry as to John Hancock’s
position on modifying the Scheduling Order and received the following reply:
John Hancock opposes this motion. (email response of March 5, 2020)

/s/ M. Douglas Berry
Attorney for Defendant Wheatley Estate

 
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CERTIFICATE OF SERVICE
This is to certify that on this date a copy of the foregoing “The Defendant, The Estate of
Jennifer Lauren Wheatley’s Motion to Modify Scheduling Order” was electronically filed
utilizing the CM/ECF System which will provide notice to the following individuals:

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This the 6th day of March, 2020.

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